             Case 6:17-ap-00044-KSJ     Doc 160    Filed 09/19/18   Page 1 of 6



                              UNITED STATES BANKRUPTCY COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION
                                      www.flmb.uscourts.gov

In re:                                            CHAPTER 11
                                                  CASE NO.: 6:15-BK-07275-KSJ
PROGRESSIVE PLUMBING, INC.,
PROGRESSIVE SERVICES, LLC and                     JOINTLY ADMINISTERED WITH
GRACIOUS LIVING DESIGN                            CASE NO.: 6:15-BK-07276-KSJ
CENTER, INC.                                      CASE NO.: 6:15-BK-07277-KSJ

      Debtors.
_________________________________/

KELLOGG & KIMSEY, INC.
A Florida Corporation,

         Plaintiff

v.                                                Adv. Case No.: 6:17-ap-00044-KSJ

PROGRESSIVE PLUMBING, INC.,
A Florida Corporation, ALLIED WORLD
SPECIALTY INSURANCE COMPANY,
A Foreign Profit Corporation

      Defendants.
_________________________________/

PROGRESSIVE PLUMBING, INC.,

         Counter-Plaintiff,

v.

KELLOGG & KIMSEY, INC.,

      Counter-Defendant.
_________________________________/

PROGRESSIVE PLUMBING, INC.,

         Cross-Plaintiff,

v.
ALLIED WORLD SPECIALTY
                                            1
            Case 6:17-ap-00044-KSJ          Doc 160      Filed 09/19/18      Page 2 of 6



INSURANCE COMPANY,

      Cross-Defendant.
_________________________________/

ALLIED WORLD SPECIALTY
INSURANCE COMPANY,

        Cross-Plaintiff,

v.

PROGRESSIVE PLUMBING, INC.,

      Cross-Defendant.
_________________________________/

                      CORRECTED JOINT PRETRIAL STATEMENT

        The following is a proposed Pretrial Statement filed jointly by all parties: Plaintiff/Counter-

Defendant, Kellogg & Kimsey, Inc. ("K&K"), Defendant/Counter-Plaintiff, Progressive

Plumbing, Inc. (“Progressive”), and Defendant/Cross-Defendant, Allied World Specialty

Insurance Company (“Allied”) to be considered at the Final Pretrial Conference on August __,

2018.

     1. Names, addresses, and telephone numbers of trial counsel:

           a. Joseph M. Herbert, Esq.
              David E. Gurley, Esq.
              Gurley & Associates
              1401 E. Broward Blvd.
              601 S. Osprey Avenue
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              Counsel for K&K

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              Telephone: (407) 966-2680
              Co-counsel for Progressive

           c. Christine Irwin Parrish, Esq.
                                                  2
       Case 6:17-ap-00044-KSJ          Doc 160       Filed 09/19/18     Page 3 of 6



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          Telephone: (321) 278-6009
          Co-counsel for Progressive

       d. Jonathan P. Cohen, Esq.
          Jonathan P. Cohen, P.A.
          500 East Broward Blvd., Suite 1710
          Fort Lauderdale, FL 33394
          Telephone: (954) 462-8850
          Counsel for Allied

2. Whether this case is to be tried with or without a jury:

       a. This case is to be tried without a jury.

3. Pretrial Statement

       a. K&K’s pretrial statement is attached as Exhibit K1.

       b. Progressive’s pretrial statement is attached as Exhibit P1.

       c. Allied’s pretrial statement is attached as Exhibit A1.

4. Stipulated facts:

       a. The parties have not yet reached a stipulation as to any facts.

5. Jurisdiction:

       a. Jurisdiction is not disputed.     This Court has jurisdiction over this adversary

          proceeding pursuant to 28 U.S.C. §§ 157, 1334, & 1367. This is a core proceeding

          pursuant to 28 U.S.C. § 157(b)(2)(A), (E) & (O).

6. Issues of Law:

       a. Law of the case:

       b. The parties have not yet reached a stipulation as to any issues of law.

       c. K&K’s contested Issues of Law are attached as Exhibit K2.

       d. Progressive’s contested Issues of Law are attached as Exhibit P2.

       e. Allied’s contested Issues of Law will be supplemented as Exhibit A2.



                                             3
        Case 6:17-ap-00044-KSJ          Doc 160     Filed 09/19/18       Page 4 of 6



7. The names and address of witnesses who shall testify at the trial, and the purpose of

   the testimony of each witness:

       a. K&K’s Witness list is attached hereto as Exhibit K3.

       b. Progressive’s Witness list is attached hereto as Exhibit P3.

       c. Allied World’s Witness list is attached hereto as Exhibit A3.

8. Pretrial Motions:

       a. The Court’s recent Order sets forth those motions set to be heard during trial.

9. Length of Trial: The parties believe that the trial shall not exceed five (5) trial days.

10. Exhibit Lists

       a. K&K’s Exhibit list is attached hereto as Exhibit K4.

       b. Progressive’s Exhibit list is attached hereto as Exhibit P4.

       c. Allied World’s Exhibit list is attached hereto as Exhibit A4




                                              4
   Case 6:17-ap-00044-KSJ           Doc 160   Filed 09/19/18    Page 5 of 6



DATED THIS 19th Day of September, 2018.

GURLEY & ASSOCIATES                             /s/ Michael A. Nardella, Esq.
                                                Michael A. Nardella, Esq.
By: /s/ Joseph M. Herbert                       Florida Bar No. 051265
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WILLIAMS PARKER HARRISON                        Attorneys for Debtor/Defendant
DIETZ & GETZEN

/s/ M. Lewis Hall, III
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                                         5
           Case 6:17-ap-00044-KSJ          Doc 160      Filed 09/19/18     Page 6 of 6



                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing was furnished

via electronic mail on this 19th day of September, 2018, to all counsel of record.



                                              GURLEY & ASSOCIATES

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                                              And

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